Case 4:21-cv-00450-JM Document 84-13 Filed 01/20/22 Page 1 of 3




                Exhibit 13
           Case 4:21-cv-00450-JM Document 84-13 Filed 01/20/22 Page 2 of 3




Dylan L. Jacobs                                                     Direct Dial: (501) 682-3661
Assistant Solicitor General                                       dylan.jacobs@arkansasag.gov



                                   December 22, 2021

via email
Duncan C. Simpson LaGoy
Sullivan & Cromwell LLP
1870 Embarcadero Road
Palo Alto, California 94303-3308

          Re: Brandt v. Rutledge

Dear Duncan:
       I write in response to your letter dated December 6, 2021. The letter men-
tions several issues discussed during our met and confer on November 30 relating
to the Legislators’ objections to Plaintiffs’ Subpoenas. We conferred regarding the
Legislators’ objections as to the lack of relevance of the documents sought by the
Subpoenas, the disproportionate scope of the document requests, and the Legisla-
tors’ claim of common-law privilege as to certain categories of documents that
could potentially be responsive to Plaintiffs’ requests.
       I must reiterate that, as I mentioned during our call, the Legislators have not
agreed to withdraw their relevance objection at this time. Any discussions regard-
ing the scope of production are preliminary in the sense that they will come to frui-
tion only in the event that the Legislators withdraw their relevance objection or the
court orders compliance with the Subpoenas.
       Nor have the Legislators withdrawn their proportionality objection. As we
discussed on the call, limiting the incredibly broad nature of the document requests
with initial search terms would be required, at a minimum, for that objection to be
withdrawn. However, the extremely lengthy list of search terms provided in Ap-
pendix A to your letter do not lessen the disproportionality of Plaintiffs’ requests.
This is especially true where many of the sources covered by Plaintiffs’ requests
(including, e.g., social media platforms and text messages) are not necessarily
       Case 4:21-cv-00450-JM Document 84-13 Filed 01/20/22 Page 3 of 3




searchable using search operators and wildcards as laid out in the Appendix. Fi-
nally, many of the search terms do not appear to be calculated to return results rele-
vant to this lawsuit. For example, two of the Legislators surnames (“clark” and
“undstrom” [sic]) appear listed. Running searches for such general terms, particu-
larly for emails, would not serve to limit the universe of searchable documents so
as to reduce the disproportionality of Plaintiffs’ requests.
       Additionally, a list of search terms in itself is not useful without an agreed-
upon list of search locations. Please provide a proposed list of search locations and
mediums (e.g., text messages, email, social media, etc.) that would be included.
This will be helpful in determining which sources are searchable via operators and
which are limited to whole keywords. Until the universe of agreed-upon search lo-
cations and mediums is established, the Legislators have no way of determining
whether the requests have been properly narrowed so as to warrant withdrawing
their proportionality objection.
      Finally, as indicated on our call, the Legislators will comply with Federal
Rule of Civil Procedure 26 and provide a privilege log of all responsive documents
withheld on the basis of privilege, at such time that documents are withheld from
production.
                                 Sincerely,

                                 /s/ Dylan L. Jacobs
                                 Dylan L. Jacobs
                                 Assistant Solicitor General
